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                                   STATEMENT OF FACTS

       Your affiant, David Elias, is a special agent assigned to the Federal Bureau of Investigation
Washington Field Office, Northern Virginia Resident Agency (“NVRA”). In my duties as a special
agent, I investigate criminal matters. Currently, I am tasked with investigating federal public
corruption, as well as criminal activity in and around the United States Capitol (“U.S. Capitol”)
grounds on January 6, 2021. As a special agent, I am authorized by law or by a Government agency
to engage in or supervise the prevention, detection, investigation, or prosecution of a violation of
Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the U.S.
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected
members of the United States House of Representatives and the United States Senate were meeting
in separate chambers of the U.S. Capitol to certify the vote count of the Electoral College of the
2020 Presidential Election, which had taken place on November 3, 2020. The joint session began
at approximately 1:00 p.m. (all times herein are Eastern Standard Time). Shortly thereafter, by
approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a
particular objection. Vice President Mike Pence was present and presiding, first in the joint
session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the U.S. Capitol and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the U.S. Capitol; however, around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the U.S. Capitol from the time he was evacuated from the Senate
Chamber until the sessions resumed.



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        During national news coverage of the aforementioned events, video footage, which
appeared to be captured on mobile devices and closed captioning cameras, of persons present on
the scene depicted evidence of violations of local and federal law, including scores of individuals
inside the U.S. Capitol building without authority to be there.

         Open-source video and security cameras captured multiple images of Ralph Joseph
CELENTANO III (“CELENTANO”), of Broad Channel, New York (“NY”), participating in the
riot at the U.S. Capitol on January 6, 2021 (depicted in the compilation of photos entitled Image
1). CELENTANO’s longer hair, two-toned jacket, flag, and folding chair affixed to his
back/backpack make him distinctive in the crowd.




       Image 1

       FBI received information indicating that the person depicted in Be On the Lookout
(BOLO)107 was found in a photograph publicly posted to a social media account. The
photograph in question was posted to a public Instagram account and described as a group
photograph of approximately 20 individuals attending a social function at an unknown location
in New York (Image 2).



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       Image 2

        Subsequent investigation and open-source research conducted by the FBI has positively
identified the female circled in orange as J.M.B. in Image 2 and the male circled in red as Ralph Joseph
CELENTANO III (“CELENTANO”). J.M.B. was identified as a current resident of Broad
Channel, New York and as a friend/possible significant other of CELENTANO.
        Investigation by the FBI identified the same Instagram photograph as also being posted
to a publicly accessible Facebook page associated with The Jenny Albert Sea Turtle Foundation
(“JASTF”). FBI believes Image 2 was taken in conjunction with a JASTF March 31, 2018
fundraiser in Broad Channel, New York.
        FBI interviewed Witness 1, who is a volunteer for JASTF. Witness 1 stated that he/she
was a member of JASTF and was able to recognize other members. Witness 1 identified Ralphie
or Ralph as the individual circled in red in Image 2 Witness 2 also identified J.M.B. as Ralph’s on
and off again girlfriend.
        Witness 2 has known CELENTANO for over 13 years. Witness 2 confirmed that
CELENTANO lives in Broad Channel, New York with J.M.B. Witness 2 positively
identified CELENTANO in Images 3, 4, 5, 6, and 7, all from January 6, 2021.




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                            Image 3




                            Image 4




                            Image 5


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                                           Image 6




                                           Image 7

        EZ Pass toll transponder information was then collected and connected to
CELENTANO’s friend/significant other, J.M.B. EZ Pass and New York License Plate Reader
data identified J.M.B.'s vehicle departing Broad Channel, New York on the morning of January
6, 2021, at approximately 3:00 a.m., and returning to Broad Channel, New York on the evening
of January 7, 2021, at approximately 7:30 p.m.

        An open-source video, depicting the events of January 6, 2021, entitled “Washington DC
Capitol Breach,” depicts CELENTANO on the west terrace of the U.S. Capitol. CELENTANO
is visible in this video approaching a uniformed Capitol Police Officer K.E. from behind,

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making physical contact, and causing officer K.E. to fall over a ledge as depicted in Images 8, 9,
and 10. Your affiant believes CELENTANO is the person who pushed officer K.E. based on his
hair length, jacket, flag he carried, and very distinct folding chair strapped to his back.




                                            Image 8




                                            Image 9

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                                           Image 10

        Officer K.E. was interviewed and recalls being “blind-sided” from behind in a “football-
type tackle” without warning, causing him to fall over the ledge to the terrace below. Officer
K.E. stated his main concern was getting up so he would not be “stomped on.” He went on to
state that he was frightened and no longer felt safe once he was on the lower terrace amongst
such a large crowd. Officer K.E. said he probably sustained injuries during the fall, but he had
so much adrenaline at that time that he could not be sure. After January 6, 2021, Officer K.E.
did find bumps and bruises on his body but did not seek medical attention. Officer K.E., an Iraq
war veteran, recalled thinking “I didn't survive a war to go out like this.”

        Body Worn Camera (“BWC”) video footage obtained from District of Columbia
Metropolitan Police Department (“MPD”) in furtherance of this investigation provided additional
evidence of CELENTANO engaging in several physical altercations with uniformed law
enforcement personnel on the grounds of the United States Capitol. These physical altercations
are in addition to the assault on Officer K.E. These altercations are depicted in Images 11, 12,
13, 14, 15, and 16. Based on his hair, clothing, and folding chair affixed to his backpack, your
affiant believes CELENTANO is the assailant in these images.




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                           Image 11




                           Image 12




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                           Image 13




                           Image 14




                              Image 15

                               9
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                                             Image 16

         Based on the foregoing, your affiant submits that there is probable cause to believe that
Ralph CELENTANO violated 18 U.S.C. § 111(a)(1), which makes it a crime to forcibly assault,
resist, oppose, impede, intimidate, or interfere with any person designated in section 1114 of this
title while engaged in or on account of the performance of official duties.

        Additionally, your affiant submits there is probable cause to believe that Ralph
CELENTANO violated 18 U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to
commit any act to obstruct, impede, or interfere with any fireman or law enforcement officer
lawfully engaged in the lawful performance of his official duties incident to and during the
commission of a civil disorder which in any way or degree obstructs, delays, or adversely affects
commerce or the movement of any article or commodity in commerce or the conduct or
performance of any federally protected function. For purposes of Section 231 of Title 18, a
federally protected function means any function, operation, or action carried out, under the laws
of the United States, by any department, agency, or instrumentality of the United States or by an
officer or employee thereof.

        Further, based on the foregoing, your affiant submits that there is probable cause to believe
that Ralph CELENTANO violated 18 U.S.C. §§ 1752(a)(1), (2), and (4), which makes it a crime
to (1) knowingly enter or remain in any restricted building or grounds without lawful authority to
do; (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; and (4) knowingly
engages in any act of physical violence against any person or property in any restricted building
or grounds. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily


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visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Finally, your affiant submits there is probable cause to believe that Ralph CELENTANO
violated 40 U.S.C. §§ 5104(e)(2)(D), and (F), which makes it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; (and (F) engage in an act of physical violence in the Grounds or any of
the Capitol Buildings.


                                                     _________________________________
                                                     DAVID ELIAS
                                                     SPECIAL AGENT
                                                     FEDERAL BUREAU OF
                                                     INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 2 day of March 2022.                                    Zia M. Faruqui
                                                                        2022.03.02
                                                                        17:07:46 -05'00'
                                                      ___________________________________
                                                      HONORABLE ZIA M. FARUQUI
                                                      UNITED STATES MAGISTRATE JUDGE




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